       Case 1:25-cv-01158-DLF            Document 1         Filed 03/28/25       Page 1 of 15




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                                                                         Assigned To : Friedrich, Dabney L.
                                                                         Assign. Date : 3/28/2025
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Case 1:25-cv-01158-DLF           Document 1        Filed 03/28/25        Page 9 of 15




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                                      Page 9 of14
       Case 1:25-cv-01158-DLF          Document 1        Filed 03/28/25      Page 10 of 15




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                                           Page 10 of l4
      Case 1:25-cv-01158-DLF           Document 1        Filed 03/28/25     Page 11 of 15




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         Case 1:25-cv-01158-DLF          Document 1        Filed 03/28/25       Page 12 of 15




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 Case 1:25-cv-01158-DLF                  Document 1                Filed 03/28/25       Page 13 of 15




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Case 1:25-cv-01158-DLF   Document 1        Filed 03/28/25       Page 14 of 15




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                                               (757) 71 7-82CI8




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       Case 1:25-cv-01158-DLF         Document 1     Filed 03/28/25    Page 15 of 15




              List of Parties to Be Served with Addresses for Service of Process

   Case Title: ESTATE OF HOLLY JO RIAHI v. NAVY FEDERAL CREDIT UNION, et al
                   Court: U.S. District Court for the District of Columbia
                        Case Number: _______________________

NAVY FEDERAL CREDIT UNION
820 Follin Lane SE
Vienna, VA 22180

John Collins, private and public capacity
820 Follin Lane SE
Vienna, VA 22180

Michael P. Santomassimo, Chief Financial Officer
WELLS FARGO BANK, N.A.
101 North Phillips Ave.
Sioux Falls, ND 57104

FEDERAL NATIONAL MORTGAGE ASSOCIATION
Granite Park VII
5600 Granite Pkwy
Plano, TX 75024

TRUSTEE SERVICES OF VIRGINIA, LLC
RA: C T CORPORATION SYSTEM
4701 Cox Rd, Ste 285
Glen Allen, VA 23060 - 6808

BROCK & SCOTT, PLLC
RA: C T CORPORATION SYSTEM
4701 Cox Rd, Ste 285
Glen Allen, VA 23060 - 6808
